        Case 3:20-cv-06127-WHO Document 68 Filed 04/19/21 Page 1 of 3



 1    Mark L. Whitaker (pro hac vice)                  Roman A. Swoopes (CA BAR NO. 274167)
      MWhitaker@mofo.com                               RSwoopes@mofo.com
 2    Mary Prendergast (CA BAR NO. 272737)             MORRISON & FOERSTER LLP
      MPrendergast@mofo.com                            755 Page Mill Road
 3    MORRISON & FOERSTER LLP                          Palo Alto, California 94304-1018
      2100 L Street, NW, Ste. 900                      Telephone: (650) 813-5600
 4    Washington, District of Columbia 20037           Facsimile:     (650) 494-0792
      Telephone:     (202) 887-1500
 5    Facsimile:     (202) 887-0763

 6    Jack W. Londen (CA BAR NO. 85776)
      JLonden@mofo.com
 7    MORRISON & FOERSTER LLP
      425 Market Street
 8    San Francisco, California 94105
      Telephone: (415) 268-7000
 9    Facsimile: (415) 268-7522

10    Attorneys for Plaintiff/Counterclaim-Defendant
      TERADATA US, INC. and Counterclaim-Defendant
11    TERADATA OPERATIONS, INC.

12
                                    UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                         SAN FRANCISCO DIVISION
15
      TERADATA US, INC.,                              Case No. 3:20-cv-06127-WHO
16
               Plaintiff/Counterclaim-Defendant,
17                                                    TERADATA’S REQUEST FOR
       and                                            JUDICIAL NOTICE IN SUPPORT OF
18                                                    ITS MOTION TO DISMISS
      TERADATA OPERATIONS, INC.,                      COUNTERCLAIMS ASSERTING THE
19                                                    INFRINGEMENT OF U.S. PATENT
               Counterclaim-Defendant,                NOS. 7,814,044 AND 8,880,565
20
          v.                                          Judge:      Hon. William H. Orrick
21                                                    Date:       June 9, 2021
      SAP SE and SAP AMERICA, INC.,                   Time:       2:00 p.m.
22
                                                      Location:   Courtroom 2, 17th Floor or via
               Defendants/Counterclaim-Plaintiffs,                Video Conference
23
       and
24
      SAP LABS, LLC,
25
               Defendant.
26
27

28

     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
     CASE NO. 3:20-CV-06127-WHO
      tk-805098
        Case 3:20-cv-06127-WHO Document 68 Filed 04/19/21 Page 2 of 3



 1                                  REQUEST FOR JUDICIAL NOTICE

 2             TO DEFENDANTS/COUNTERCLAIM PLAINTIFFS AND THEIR COUNSEL OF

 3    RECORD:

 4             PLEASE TAKE NOTICE that Plaintiff/Counterclaim-Defendant Teradata US, Inc. and

 5    Counterclaim-Defendant Teradata Operations, Inc. (collectively, “Teradata”) hereby requests

 6    that, pursuant to Federal Rule of Evidence 201, the Court take judicial notice of the following

 7    documents attached as Exhibits 1-8 hereto. The request is made in connection with Plaintiffs’

 8    Motion to Dismiss Counterclaims Asserting the Infringement of U.S. Patent Nos. 7,814,044 and

 9    8,880,565.

10         Excerpts from the Prosecution History of U.S. Patent No. 8,880,565 (the ’565 Patent)

11      Exhibit                                        Description
12         1        December 4, 2013 Office Action (Non-Final Rejection)
           2        May 2, 2014 Office Action (Notice of Allowance and Notice of Allowability)
13

14
           Excerpts from the Prosecution History of U.S. Patent No. 9,977,796 (the ’796 Patent)
15
        Exhibit                                        Description
16
           3        August 6, 2014 First Preliminary Amendment under 37 C.F.R. 1.115
17         4        December 16, 2016 Office Action (Non-Final Rejection)
18         5        March 16, 2017 Amendment in Reply to Non-Final Office Action of December
                    16, 2016
19         6        June 15, 2017 Office Action (Final Rejection)
20         7        August 15, 2017 Amendment in Reply to Final Office Action of June 15, 2017
                    with Request for AFCP 2.0
21
           8        January 25, 2018 Office Action (Notice of Allowance and Notice of
22                  Allowability)

23

24                            BASIS FOR REQUESTING JUDICIAL NOTICE

25             Taking judicial notice of a fact is appropriate when it “can be accurately and readily

26    determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.

27    201(b)(2). The court “must take judicial notice if a party requests it and the court is supplied with

28    the necessary information.” Fed. R. Evid. 201(c)(2).

     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
                                                                                                              1
     CASE NO. 3:20-CV-06127-WHO
      tk-805098
        Case 3:20-cv-06127-WHO Document 68 Filed 04/19/21 Page 3 of 3



 1            Exhibits 1-8 are public documents and their accuracy is not subject to reasonable dispute.

 2    Exhibits 1 and 2 are excerpts from the prosecution history of the ’565 Patent and Exhibits 3-8 are

 3    excerpts from the prosecution history of the ’796 Patent. Patent prosecution histories are

 4    available to the public through the Patent Application Information Retrieval (PAIR) service of the

 5    United States Patent and Trademark Office, accessible online at

 6    https://portal.uspto.gov/pair/PublicPair. Because patent prosecution histories are public records,

 7    this Court may take judicial notice of them. See Coinstar, Inc. v. CoinBank Automated Sys., 998

 8    F. Supp. 1109, 1114 (N.D. Cal. 1998); SEMICAPS Pte Ltd. v. Hamamatsu Corp., 393 F. Supp. 3d

 9    802, 806 n.1 (N.D. Cal. 2019). Furthermore, taking judicial notice of public records, such as the

10    prosecution histories attached to this motion, does not convert a Rule 12 motion into a motion for

11    summary judgment. See United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); Mir v. Little

12    Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988) (“[I]t is proper for the district court to ‘take

13    judicial notice of matters of public record outside the pleadings’ and consider them for purposes

14    of the motion to dismiss.”) (citation omitted).

15            For the foregoing reasons, the Court should take judicial notice of Exhibits 1-8 in

16    considering Teradata’s Motion to Dismiss Counterclaims Asserting the Infringement of U.S.

17    Patent Nos. 7,814,044 and 8,880,565.

18
       Dated: April 19, 2021                            MORRISON & FOERSTER LLP
19
20                                                      By: /s/ Jack W. Londen
                                                               Jack W. Londen
21
                                                        Attorney for Plaintiff/Counterclaim-Defendant
22                                                      TERADATA US, INC. and Counterclaim-
                                                        Defendant TERADATA OPERATIONS, INC.
23

24

25

26
27

28

     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
                                                                                                              2
     CASE NO. 3:20-CV-06127-WHO
      tk-805098
